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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 PULLMAN ARMS INC, GUNS and GEAR,
 LLC, PAPER CITY FIREARMS, LLC,
 GRRR! GEAR, INC, and NATIONAL
 SHOOTING SPORTS FOUNDATION, INC.,

                                Plaintiffs,
                                                          CIVIL ACTION
                         v.                               No. 4:16-cv-40136

 MAURA HEALEY, ATTORNEY GENERAL
 FOR THE COMMONWEALTH OF
 MASSACHUSETTS,

                                Defendant.


                              STIPULATED PROTECTIVE ORDER

       WHEREAS, the parties acknowledge that discovery in the above captioned action (“the

Action”) may involve the production of confidential, private, and/or highly-sensitive documents

and information of a non-public nature for which special protection from public disclosure and

from use for any purpose other than conducting the Action may be warranted;

       WHEREAS, the parties also acknowledge and agree that all documents and information

produced during discovery in the Action will be used only in connection with prosecution or

defense of the Action;

       WHEREAS, the parties mutually wish to facilitate the production of documents and

information without motion practice, and to provide an agreed-to framework for handling disputes

concerning the claimed confidentiality of otherwise discoverable information that may arise in the

Litigation;

       WHEREAS, nothing in this stipulation or in any order entered in light of the parties’
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agreement hereto is intended to supplant, substitute for, or alter any party’s right to assert that any

document or information is protected from disclosure in the Action by the attorney-client

privilege, the work product doctrine, the common interest privilege, and/or any other applicable

law, rule, regulation, or privilege;

        THEREFORE, the parties hereby stipulate to and petition the Court to enter the following

Stipulated Protective Order.

        1.      All “Confidential Materials,” as defined herein, produced by a party in the Action

shall be protected by the terms of this Stipulated Protective Order. The parties further stipulate

that Confidential Materials shall be used only for proper purposes associated with this litigation

and in accordance with the provisions of this Stipulated Protective Order.

        2.      “Confidential Materials” means documents, materials, testimony, interrogatory

responses, admissions, denials and/or other information that a producing party designates as

Confidential and produces during discovery based on a reasonable and good faith belief that the

document, material or information contains:

        a) non-public personal information;

        b) information as to which disclosure is protected by law, regulation, or court order;

        c) other highly-sensitive information of a non-public nature including information that

             any party reasonably believes would endanger a person or members of the public if

             released; and/or

        d) information entitled to confidential treatment pursuant to Rule 26(c) of the Federal

             Rules of Civil Procedure.

        3.      The designation of confidential information shall be made by placing or affixing

on the materials to be treated as confidential, in a manner which does not interfere with its
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legibility, the word “Confidential.” To the extent that only a portion of any document or other

material is confidential under this Stipulated Protective Order, the designation shall be limited, to

the extent practicable, only to the confidential portion. In the case of deposition testimony, a

designation of confidentiality shall be made by written notice to all parties within ten days of

receipt of the deposition transcript designating pages and line numbers to be designated as

confidential, which written notice shall be deemed to be part of the transcript. During the ten

day period following receipt of any deposition transcript in connection with the Action, the entire

transcript will be treated as Confidential pursuant to this Stipulated Protective Order.

       4.       The Confidential Materials may only be disclosed or made available by the

receiving party to “Qualified Persons,” who are defined to consist of:

       a) The Court and its support personnel (in the manner provided by paragraph 8 hereof);

       b) Counsel for a party and such counsel’s agents, including clerical, secretarial,

            paralegal staff, investigators, and outside service providers (including copy services,

            litigation consultants and their staff, document management services, and graphics

            services);

       c) Court reporters engaged for the purposes of depositions or other proceedings and

            then, only for the purpose of the deposition or proceeding for which the engagement

            is made;

       d) Experts and their staff who are assisting in the prosecution or defense of the Action;

       e) Any person who counsel in good faith believes will or may be requested or required to

            testify as a witness at deposition or trial (“Potential Witness”);

       f) Any third-party mediator, settlement judge, or arbitrator selected by the parties or

            assigned by the Court;
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       g) The Plaintiffs and the Defendants, but limited to the officers and corporate counsel

            of corporate entities; and

       h) Any other person to whom the producing party agrees to in writing.

       5.      The party in receipt of Confidential Materials must, prior to sharing Confidential

Materials with persons specified in paragraphs 4(d), 4(e), 4(f), and 4(g), obtain and record the

agreement in writing of the party with whom the documents were shared to maintain the

confidentiality of the documents consistent with this Stipulated Protective Order. The party in

receipt of Confidential Materials must advise all persons identified in Paragraph 4 (other than

those identified under Paragraph 4(a)) that Confidential Materials are governed by this Stipulated

Protective Order and must provide a copy of this Stipulated Protective Order, that such materials

may not be used for any purpose other than preparing for or conducting this Action, and that such

materials are not to be disclosed or disseminated other than in the manner permitted by this

Stipulated Protective Order.

       6.      Nothing contained herein shall prevent any party from disclosing its own

Confidential Materials as it deems appropriate, but any disclosure by a party of its own

Confidential Materials shall be a waiver of the provisions contained herein. For purposes of this

provision, “disclosure” shall not include (a) inadvertent disclosure or (b) the sharing of

information between or among agencies or political subdivisions of the Commonwealth in the

course of its ordinary business.

       7.      Nothing herein shall impose any restrictions on the use or disclosure by a party or

witness of documents or information obtained by such party or witness independently of the

discovery proceedings in the Action.

       8.      At least two days before filing in Court any pleadings or other documents which
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are marked “Confidential” or which contain Confidential Materials, the parties shall confer and

seek agreement on redactions that would permit the filing of the pleadings or other documents in

open court. To the extent any party seeks impoundment of any document by the Court, a motion

with be made in accordance with Local Rule 7.2. The parties recognize that impoundment may

only be ordered by the Court on a particularized showing, and that in its consideration of whether

any pleadings or documents may be filed under seal, the Court is not bound by the designation of

any material as “Confidential” and any such designation shall not create any presumption that

documents so designated are entitled to confidential treatment or impoundment.

        9.      If Confidential Materials received by a party are subpoenaed by any court,

administrative or legislative body, or any other person purporting to have authority to subpoena

such information, the party to whom the subpoena is directed shall give written notice of the

subpoena (including the delivery of a copy thereof) to counsel for the producing party ten business

days prior to the time when production of the information is requested by subpoena. In the event

that the subpoena purports to require production of such Confidential Materials on less than ten

days’ notice, the party to whom the subpoena is directed shall give immediate telephonic notice of

the receipt of such subpoena, and forthwith deliver by hand or electronic copy thereof, to counsel

for the producing party. Absent a court order to the contrary, the party to whom the subpoena is

directed shall not produce Confidential Materials until the earlier of: (i) the receipt of written

consent from the producing party; (ii) the return date of the subpoena or other process

(unless the obligation to respond is stayed); (iii) five business days, or such shorter period as the

presiding court may direct, after a decision is issued on any motion to quash or motion for a

protective order. Nothing herein shall prevent any party subject to this Stipulated Protective

Order from complying with an order of a court, including the subject subpoena, and nothing
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herein shall require the party to whom the subpoena is directed to take any affirmative steps

other than the giving of notice to the producing party.

       10.     If, at any time, any party wishes for any reason to dispute a designation of any

Confidential Materials hereunder, such party shall notify the producing party of such dispute in

writing, identifying the Confidential Materials in dispute. Within ten days, the producing party

shall state in writing to the party disputing the designation the basis for having designated the

materials as Confidential. If no such statement in writing is given within ten days, the identified

Confidential Materials shall no longer be treated as Confidential. Following receipt of such

statement, the parties shall confer regarding the Confidential Materials in dispute. If the parties

are unable amicably to resolve the dispute, the producing party may move the Court, within

twenty-one (21) days of the date of said impasse, for a ruling as to whether the designated

materials may properly be treated as Confidential. Designation of any material as

“Confidential” shall not create any presumption that documents and transcripts so designated

are Confidential, and shall not shift the burden of establishing entitlement to confidential

treatment from the producing party. If the producing party does not timely move the Court for

said ruling, then the identified Confidential Materials shall no longer be treated as Confidential.

       11.     At the conclusion of the Action, the producing party has the right to request that,

to the extent permitted under Massachusetts law, all Confidential Materials be returned or

destroyed. Counsel of record may retain for his or her files copies of any of counsel’s own work

product, correspondence, pleadings, briefs and exhibits, any other court filings, deposition

transcripts and exhibits, or hearing or other official transcripts and exhibits, which contain

Confidential Materials or reproduce the content of Confidential Materials. Such retained copies

will remain subject to the restrictions herein.
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       12.     Nothing in the foregoing shall control or govern the use of Confidential Materials

as evidence at trial. The parties contemplate agreeing upon and submitting a stipulated pretrial

order governing procedures for handling Confidential Materials at trial.

       13.     The inadvertent disclosure of any document that is subject to a legitimate claim

that the document is subject to a privilege or the work-product protection shall not waive the

privilege or the protection for either that document or for the subject matter of that document.

       14.     Any documents the producing party deems to have been inadvertently disclosed

and to be subject to a privilege or the work-product protection shall be subject to the provisions

of Fed. R. Civ. P. 26(b)(5)(B).

       15.     This Stipulated Protective Order may be signed by counsel of record in

counterparts, all of which taken together shall constitute one fully executed copy of this

Stipulated Protective Order representing the agreement and consent of the parties to this Action.

       16.     If any provision of the foregoing shall be invalidated, illegal, or otherwise

unenforceable, such provision shall be severable from all other provisions of the foregoing, and

the validity, legality and enforceability of the remaining provisions shall not be adversely

affected or impaired, and shall thereby remain in full force and effect.

       17.     The foregoing constitutes the entire agreement between the parties with respect to

the subject matter hereof, and any and all previous representations with respect to such subject

matter, either oral or written, are hereby annulled and superseded. The fact that any provision

has been altered or removed from a prior draft of this Stipulated Protective Order shall not be

offered to prove the intent of the parties, the contents of the Stipulated Protective Order, or the

manner in which the foregoing should be interpreted.


                 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD
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                                   PLAINTIFFS,
                                   Pullman Arms Inc., et al.
                                   By their attorneys,

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Date: May 29, 2019
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PURSUANT TO STIPULATION, IT IS SO ORDERED


DATED: _______________________________


SIGNED: ______________________________
[JUDGE]
